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                      plaintiff:
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        ll                                       )                                                              '
           vs.                                   )
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           MEtwxm pxscua                         )                                                              '
        13            o                          )                                                              2
                         efendant.               )              ORDER                                           1
        14
        15       on Novem ber27, 2012,thecourtgranted KalaniK.Hoo'sço
                                                                    M otion toW ithdraw''(#302)                 1
        16 and ordered new counselappointed. Therefore,wi
                                                        thgoodcauseappearing;                                   i
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        17       IT IS HEREBY ORDERED thatJonathan L . Pow cll,Esq.isappointed ascounselfor
        18 Melaniepascua in placeofKalaniK .Hoo,Esq.forallfutureproceedings                                     1
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                 IT IS FURTHER ORDERED thatM r.Hoo shallfonvardthetileto M r.Powellforthwith.                   j
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        2l       DATED this $ 7A-Q     dayofNovember,2012.                                                      !
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        22       NuncProTuncDate:November26,2012.                                                               i
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